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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 NATIONAL ASSOCIATION OF
 IMMIGRATION JUDGES, affiliated with the
 International Federation of Professional and
 Technical Engineers,
                                                    Civil Action No. 20 Civ. 731 (LO) (JFA)
               Plaintiff,

        v.

 JAMES R. MCHENRY III, in his official
 capacity as Director of the Executive Office
 for Immigration Review,

               Defendant.



                       REPLY IN SUPPORT OF PLAINTIFF’S
                     MOTION FOR A PRELIMINARY INJUNCTION


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                                           Introduction

       The National Association of Immigration Judges (“NAIJ”) challenges a prior restraint that

silences federal immigration judges on matters at the core of their expertise and of national public

debate. As NAIJ explained in its opening brief, policies newly issued by the Executive Office for

Immigration Review (“EOIR”) categorically prohibit immigration judges from speaking publicly

in their personal capacities about immigration law or policy or about EOIR programs and policies,

and require that they obtain preapproval through an onerous process before speaking publicly in

their private capacities on any other topic. This Policy violates the First and Fifth Amendments,

and this Court should enter a preliminary injunction against its enforcement.1

       The government argues that NAIJ’s claims must be administratively exhausted under the

Federal Service Labor-Management Relations Statute (“FSL-MRS”) and the Civil Service Reform

Act (“CSRA”), but this argument is misconceived. As the D.C. Circuit held in Weaver v. U.S.

Information Agency, 87 F.3d 1429 (D.C. Cir. 1996), such statutes do not divest district courts of

jurisdiction over “a simple pre-enforcement attack on a regulation restricting employee speech.”

Id. at 1434. Indeed, under the government’s theory, the Supreme Court’s seminal case on the free-

speech rights of federal employees—which was filed in district court by another federal union—

was wrongly decided. United States v. Nat’l Treasury Emps. Union (NTEU), 513 U.S. 454 (1995).

The government’s arguments about redressability similarly fail. A preliminary injunction would

redress the discrete injuries caused by the Policy, which supersedes the 2011 Ethics Guide. NAIJ

also has standing to raise its vagueness claims because, contrary to the government’s assertion,


   1
      In its brief, the government clarifies that the 2020 Policy reissued the 2017 Policy and
accordingly that the 2017 Policy remains operative. NAIJ therefore seeks a preliminary injunction
against EOIR’s enforcement of both policies. For the sake of clarity, because the government uses
the term “Policy” to refer to the 2017 Policy, as modified by the 2020 Policy, NAIJ will also use
that term to refer to both policies.

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NAIJ has identified several members who have been harmed and continue to be harmed by the

Policy’s review standards.

       NAIJ is likely to succeed on the merits of its First Amendment claim because the Policy is

subject to—but does not satisfy—the test set forth in NTEU. The government attempts to evade

this test by arguing that the Policy does not prohibit speech, but the Policy’s plain text clearly

forbids immigration judges from publicly discussing immigration or EOIR in their personal

capacities. In any event, NTEU applies to restrictions on employee speech—including the Policy’s

preapproval process—and not just to outright prohibitions. The government’s attempt to cast all

speech about immigration and EOIR as “official” is similarly unavailing. Many immigration

judges want to educate the public about the immigration legal system by speaking at legal

conferences or trainings or by explaining the impact of new or proposed policies on their ability

to do their jobs. This speech is not part of their official duties, and it is not made official merely

because it “concerns those duties.” Lane v. Franks, 573 U.S. 228, 240 (2014). Nor do any of the

interests the government asserts outweigh immigration judges’ interests in engaging in this speech,

or the public’s interest in hearing it. The government has failed to show any actual harm caused

by judges’ personal-capacity speech in the many years prior to 2017, let alone any harms that

would support the Policy’s sweep.

       NAIJ is also likely to succeed on the merits of its Fifth Amendment claim. As explained

below, the Policy is vague because it fails to cabin the discretion of decisionmakers. At every stage

of review, officials are permitted to make decisions based on broad and subjective standards, such

as consistency with agency policies and messaging. The government’s assertions to the contrary

are belied by the text of the Policy and by the agency’s own declarations. In fact, the agency now

candidly admits in one of its declarations that it applies the Policy in a viewpoint discriminatory



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way, confessing that even for personal-capacity speaking events, supervisors will consider whether

the content of the speech could (in their view) lead to negative publicity or scrutiny.

       The government’s arguments regarding the remaining preliminary injunction factors

similarly miss their mark. NAIJ has not substantially delayed in challenging the Policy. To the

contrary, the union filed suit mere months after EOIR’s recent policy change. The balance of

equities and the public interest also support preliminary injunctive relief. While the government

asserts that the Policy serves important interests, the government has no legitimate interest in the

enforcement of unconstitutional policies, and the public interest is served by protecting First

Amendment rights.

                                             Argument

   I. This Court has jurisdiction over NAIJ’s claims.

           A. NAIJ’s claims are not precluded by the FSL-MRS or the CSRA.

       Time and again, federal courts considering constitutional challenges to employee-speech

policies or regulations have either rejected or declined to address the jurisdictional argument that

the government makes here. See, e.g., NTEU, 513 U.S. 454; Weaver, 87 F.3d at 1433–35; Sanjour

v. EPA, 56 F.3d 85 (D.C. Cir. 1995) (en banc); Wolfe v. Barnhart, 446 F.3d 1096 (10th Cir. 2006).

Even the Supreme Court, in its seminal decision in NTEU, invalidated employee-speech

restrictions in a challenge brought originally in federal district court by a union that was subject to

the same statutory scheme that the government claims divests this Court of jurisdiction. In doing

so, the Court did not so much as mention the question of jurisdiction. This is not surprising: under

the two-step framework announced in Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 212–

15 (1994), this Court clearly has jurisdiction over a “simple pre-enforcement attack on a regulation

restricting employee speech.” Weaver, 87 F.3d at 1434.



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       Relevant in this case is the second step of the Thunder Basin framework, under which the

Court must determine “whether plaintiffs’ ‘claims are of the type Congress intended to be reviewed

within [the relevant] statutory structure.’” Bennett v. SEC, 844 F.3d 174, 181 (4th Cir. 2016)

(quoting Thunder Basin, 510 U.S. at 212). Factors relevant to this inquiry include “(1) whether the

statutory scheme foreclose[s] all meaningful judicial review,” “(2) the extent to which the

plaintiff’s claims are wholly collateral to the statute’s review provisions,” and “(3) whether agency

expertise could be brought to bear on the . . . questions presented.” Id. (internal quotation marks

omitted).

       The government argues that NAIJ’s constitutional claims fall within two statutory

schemes—the FSL-MRS and the CSRA—but as explained below, they do not, and they are not

“of the type” Congress intended to be reviewed through these administrative schemes.

       First, NAIJ’s claims are “wholly collateral” to the provisions of these statutory schemes.

The FSL-MRS establishes an exclusive scheme of administrative and judicial review for certain

labor-related disputes, including negotiability and unfair labor practice disputes. 5 U.S.C.

§ 7105(a). NAIJ’s claims, however, do not raise any such dispute, and the government fails to

explain at all how they could. The government relies on the D.C. Circuit’s recent decision in AFGE

v. Trump, 929 F.3d 748 (D.C. Cir. 2019), but that case is inapposite. See Memorandum of Law in

Opposition to Plaintiff’s Motion for a Preliminary Injunction (“Def.’s Br.”) at 8, ECF No. 27. The

unions there challenged executive orders regarding federal labor–management relations, making

broad statutory claims in addition to constitutional ones. The D.C. Circuit held that the challenge

was not wholly collateral because it was “of the type that is regularly adjudicated through the

FSLMRS’s scheme”—“disputes over whether the Statute has been violated”—and the unions had

“ask[ed] the district court for the same relief that they could ultimately obtain through the statutory



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scheme[.]” AFGE, 929 F.3d at 760. Neither premise of that court’s holding is present here. NAIJ

does not advance any statutory claims, let alone a claim that the FSL-MRS has been violated. Nor

does it seek relief which it could obtain through the statutory scheme. NAIJ seeks a declaration

that EOIR’s policies are unconstitutional and an order enjoining their enforcement, not for the

pendency of a bargaining dispute, but on a permanent basis. See Nat’l Treasury Emps. Union v.

Devine, 733 F.2d 114, 117 n.8 (D.C. Cir. 1984) (exclusive FSL-MRS review is “quite different”

from “preenforcement judicial review of rules”).

       NAIJ’s claims are similarly collateral to the provisions of the CSRA. The CSRA governs

challenges to “prohibited personnel practice[s],” but NAIJ does not challenge any such “practice.”

The government suggests otherwise, see Def.’s Br. at 9, but the term “personnel action” clearly

refers to individual personnel decisions, not general regulations or policies. See 5 U.S.C.

§ 2302(a)(2); see also Nat’l Treasury Emps. Union v. Whipple, 636 F. Supp. 2d 63, 69–71 (D.D.C.

2009) (complaint did not fall within the CSRA’s purview because it did not seek to address

“adverse personnel actions regarding specific employees”).2

       The D.C. Circuit’s decision in Weaver is directly on point. There, a federal agency

employee challenged the constitutionality of a speech policy requiring the submission of certain

materials for prepublication review, as well as an admonishment she received for failing to comply

with that requirement. 87 F.3d at 1432. The D.C. Circuit dismissed the employee’s challenge to

her admonishment, explaining that it was remediable through the CSRA as a “prohibited personnel

practice.” Id. at 1434. But, citing NTEU and Sanjour, the court recognized jurisdiction over the

constitutional claim as “a simple pre-enforcement attack on a regulation restricting employee


   2
     The government cites the Fourth Circuit’s decision in Fleming v. Spencer, 718 F. App’x 185
(4th Cir. 2018), Def.’s Br. at 9, but that case proves NAIJ’s point. Fleming involved a constitutional
challenge to a letter of reprimand—undoubtedly an individual personnel decision.

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speech” that “st[ood] independently of the admonishment.” Id. NAIJ’s suit is essentially identical

to the suits permitted to proceed in NTEU, Weaver, and Sanjour. Cf. Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 490 (2010) (holding that plaintiffs’ constitutional

challenge to the existence of an agency was wholly collateral to any agency orders or rules from

which review might be sought); Gen. Elec. Co. v. EPA, 360 F.3d 188, 192 (D.C. Cir. 2004)

(recognizing “precedent distinguishing between facial, or ‘systemic,’ and as-applied, or

particularized challenges”); accord Gen. Elec. Co. v. EPA, 610 F.3d 110, 125–127 (D.C. Cir.

2010).

         Second, the FSL-MRS and the CSRA schemes do not provide for meaningful judicial

review of NAIJ’s constitutional claims. NAIJ does not challenge a particular application of the

Policy or even EOIR’s method of implementing the Policy. NAIJ challenges the existence of the

Policy itself, alleging that it chills protected speech and deprives the public of speech it is entitled

to hear. This type of claim is simply not cognizable under either the FSL-MRS or the CSRA. The

government seems to argue that NAIJ should instead bring a different claim and challenge a

particular application of the Policy. See Def.’s Br. at 8–9. But NAIJ is not required to recast its

constitutional claims in this way. See Jarkesy v. SEC, 803 F.3d 9, 20 (D.C. Cir. 2015) (requiring

plaintiffs “to manufacture a dispute or provoke a sanction” is not a “meaningful” avenue of relief

(citing Free Enter. Fund, 561 U.S. at 492)). Even if NAIJ could be required to do so, it still could

not obtain meaningful judicial review of its constitutional claims. First, because NAIJ is not

challenging EOIR’s failure to negotiate and is not challenging an unfair labor practice within the

meaning of the FSL-MRS, it cannot recast its constitutional claims in a way that would lead to

judicial review. Cf. AFGE v. Trump, 929 F.3d at 757. Second, even if the union could challenge

an application of the Policy as a prohibited personnel practice under the CSRA, judicial review



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would be available only if the Office of Special Counsel determined—in its sole and unreviewable

discretion—to take action on the challenge. See Fleming v. Spencer, 718 F. App’x 185, 187 (4th

Cir. 2018). Third, any eventual judicial review in this case would not be “meaningful” because

NAIJ’s members would suffer “‘additional and irremediable harm beyond the burdens associated

with the dispute resolutions process.’” Bennett, 844 F.3d at 186 n.13 (quoting Tilton v. SEC, 824

F.3d 276, 286 (2d Cir. 2016)). Specifically, they would suffer the ongoing and irreparable violation

of their First Amendment rights. See Ramirez v. U.S. Customs & Border Prot., 709 F. Supp. 2d

74, 83–84 (D.D.C. 2010).

       Finally, NAIJ’s claims are beyond the expertise of the agencies charged with administering

the FSL-MRS and the CSRA because they are purely constitutional claims involving the right of

immigration judges to speak in their personal capacities and the right of the public to hear what

they have to say. This is not a case in which the agencies’ expertise in other areas could “obviate

the need to address” the constitutional claims by resolving the case on other grounds. AFGE v.

Trump, 929 F.3d at 761 (quoting Jarkesy, 803 F.3d at 29). Here, NAIJ’s only claims are

constitutional ones, and those are quintessentially within the expertise of Article III courts.

           B. NAIJ has standing to challenge EOIR’s policies.

       The government argues that NAIJ’s injuries are not redressable because an injunction

against the Policy would not eliminate the preapproval requirement contained in the 2011 Ethics

Guide. See Def.’s Br. at 10. This argument fails for any number of reasons. At the threshold,

NAIJ’s injuries are attributable solely to the Policy, because the 2011 Guide explains that if there

are other relevant EOIR policies, those policies (rather than the Guide) control. See Supplemental

Declaration of A. Ashley Tabaddor (“Supp. Tabaddor Decl.”) ¶ 3 Ex. N (“The provisions in this

Guide do not supersede the . . . management policies[] of the Executive Office for Immigration



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Review[.]”). In addition, the Policy causes injuries independent of the Guide, and, as the Supreme

Court has repeatedly held, a plaintiff “need not show that a favorable decision will relieve his every

injury.” Larson v. Valente, 456 U.S. 228, 243 n.15 (1982). As further explained below, the Policy

(unlike the Ethics Guide) categorically prohibits immigration judges from speaking or writing

publicly in their personal capacities about immigration law or policy issues, and the programs and

policies of EOIR. See infra Part II.A. It also institutes an onerous preapproval process for all

speech, not only “written work and speeches.” Compare Supp. Tabaddor Decl. ¶ 3 Ex. N ¶ 21 with

Declaration of A. Ashley Tabaddor dated July 1, 2020 (“Tabaddor Decl.”) ¶ 11 Ex. B at 1 (the

“2017 Policy”), ECF No. 12; id. ¶ 12 Ex. G at 2 (the “2020 Policy”). For these reasons, an

injunction against enforcement of the Policy would provide redress. See Sierra Club v. U.S. Dep’t

of the Interior, 899 F.3d 260, 285 (4th Cir. 2018) (plaintiffs’ injuries were redressable “because

granting the requested relief would at least mitigate, if not eliminate, the alleged harm”).

       The government also argues that NAIJ cannot establish standing to challenge the Policy on

vagueness grounds “because it has failed to identify a single specific member whose speech was

chilled” by the Policy’s overly broad standards of review. Def.’s Br. at 10–11. This chill flows

from the text of the Policy, however, and so harms all immigration judges. In any event, NAIJ has

submitted an affidavit identifying several members who have been harmed by the Policy’s

imprecise standards. See, e.g., Tabaddor Decl. ¶¶ 27–31 Exs. H–L.

   II. NAIJ is likely to prevail on the merits of its First Amendment claim.

       The Policy imposes a sweeping prior restraint on 470 rank-and-file immigration judges and

on 1,500 other EOIR employees. That prior restraint must survive “exacting scrutiny.” Janus v.

Am. Fed’n of State, Cty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2472 (2018). Under the test

set forth in NTEU, “the Government must show that the interests of both potential audiences and



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a vast group of present and future employees in a broad range of present and future expression is

outweighed by that expression’s ‘necessary impact on the actual operation’ of the Government.”

NTEU, 513 U.S. at 468 (quoting Pickering v. Bd. of Educ., 391 U.S. 563, 571 (1968)).3 For the

reasons that follow, the Policy does not satisfy that test.

           A. The Policy is subject to NTEU because it prohibits personal-capacity speech
              relating to immigration and EOIR and because it subjects all other such
              speech to an onerous preapproval requirement.

       As NAIJ explained in its opening brief, the Policy operates as a prior restraint in two ways:

it categorically prohibits immigration judges from speaking publicly in their personal capacities

about immigration and EOIR, and it requires immigration judges to seek preapproval before

speaking publicly in their personal capacities on any other topic. See Memorandum of Law in

Support of Plaintiff’s Motion for a Preliminary Injunction (“Pl.’s Br.”) at 9, ECF. No. 10. In

response, the government argues that the Policy does not in fact impose a prohibition and, in any

event, that the prohibited speech is not protected. Def.’s Br. at 13–15. The government also

attempts to argue that the Policy establishes only a prenotification process rather than an onerous

preapproval requirement. Id. at 15. It is wrong on all counts.

       First, the Policy unquestionably prohibits immigration judges from speaking publicly in

their personal capacities about immigration or EOIR. The Policy does this by defining as “official

capacity” any speech “relat[ing] to immigration law or policy issues, the employee’s official EOIR

duties or position, or any agency programs and policies.” 2020 Policy at 2. By prohibiting


   3
    The government half-heartedly argues that NTEU should not apply because the Policy does
not (in its view) directly prohibit speech, the agency has had some form of a preapproval
requirement for years, and because it has asserted an interest in judicial integrity. See Def.’s Br. at
18 n.8. None of the cases the government relies upon supports its argument. Simply put, NTEU
applies whenever a public employer sets a policy or regulation that “impede[s] a ‘broad category
of expression’ and ‘chills potential speech before it happens.’” Liverman v. City of Petersburg,
844 F.3d 400, 407 (4th Cir. 2016) (quoting NTEU, 513 U.S. at 467, 468).

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employees from speaking about these topics in their personal capacities, EOIR forces all

employees who speak about immigration or EOIR to speak as emissaries of the agency who must

share the agency’s views rather than their own.

        Recognizing its definition of official-capacity speech fails to comply with the First

Amendment, EOIR suggests that it is not applied rigidly in practice. Def.’s Br. at 13. The record

refutes that suggestion, making clear that EOIR officials do in fact deem speech related to

immigration and the agency’s policies to be official. See Declaration of Lauren Alder Reid ¶ 36,

ECF No. 27-4; Declaration of Sirce E. Owen (“Owen Decl.”) ¶ 9, ECF No. 27-5; see also Tabaddor

Decl. ¶¶ 22, 25. But even if the government’s suggestion were accurate, it would be irrelevant. It

is the text of a prior restraint, not the public employer’s “subjective inten[t],” that controls. Moonin

v. Tice, 868 F.3d 853, 861 & n.5 (9th Cir. 2017); accord Redner v. Dean, 29 F.3d 1495, 1501 (11th

Cir. 1994).

        Second, much of the speech prohibited by the Policy is protected. As the Supreme Court

has explained, “the critical question . . . is whether the speech at issue is itself ordinarily within the

scope of an employee’s duties, not whether it merely concerns those duties.” Lane, 573 U.S. at

240. The government asserts that speaking at engagements related to immigration is “[a]n

‘accepted and understood’ part of IJs’ duties,” Def.’s Br. at 13, but this is not true. As Judge

Tabaddor has explained, immigration judges have no official duty to speak publicly. Supp.

Tabaddor Decl. ¶¶ 7–9. And EOIR’s formal position description for immigration judges, id. ¶ 8

Ex. O, and past statements belie the government’s current claim. In denying immigration judges

approval to speak at engagements related to immigration, the agency has repeatedly made clear

that speaking at such engagements is not an official responsibility of rank-and-file immigration




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judges and, for that reason, that the engagements should be handled by EOIR “management

officials.”4 E.g., Tabaddor Decl. ¶ 27 Ex. H.

        Third, irrespective of whether the Policy directly prohibits speech, it institutes an onerous

preapproval regime. As several courts of appeal have held, preapproval regimes are equally suspect

under NTEU. See Crue v. Aiken, 370 F.3d 668, 679 (7th Cir. 2004); Swartzwelder v. McNeilly, 297

F.3d 228, 233, 235–37 (3d Cir. 2002); Harman v. City of New York, 140 F.3d 111, 119 (2d Cir.

1998). Because the Policy allows the agency to approve or disapprove requests, the government’s

reliance on Weaver, Def.’s Br. at 15, is inapposite. That case involved a prior notification process

rather than a preapproval policy. See Weaver, 87 F.3d at 1435; see also Harman, 140 F.3d at 120

(distinguishing Weaver on those grounds).

            B. The Policy does not survive NTEU.

                1.      The interests of immigration judges and the public in the speech
                        restrained by the Policy are substantial.

        As explained at length in NAIJ’s opening brief, the speech restrained by the Policy is of

the utmost public concern. Pl.’s Br. at 9–11. The government does not dispute this, but claims that

the Policy isn’t actually as restrictive as its plain text suggests. Those assertions are incorrect (and

in any event irrelevant) for the reasons mentioned above. The government’s other attempts to

downplay the significance of the interests implicated by the Policy are also unpersuasive.


   4
      EOIR notes that immigration judges sometimes participate in stakeholder meetings, model
hearings, and pro bono trainings run by the agency itself, see Declaration of James R. McHenry
III (“McHenry Decl.”) ¶ 28, ECF No. 27-1, but whether or not participation in a small number of
events sponsored by EOIR could be considered part of an immigration judge’s duties has no
bearing on EOIR’s claim that all speech by immigration judges on immigration- or EOIR-related
topics is official. EOIR also points to a public statement by NAIJ’s President that “[p]art of the job
of an immigration judge is to educate the public about the immigration courts and the role they
play in society.” Def.’s Br. at 13. But EOIR misinterprets that statement, which reflects the belief
(widespread among immigration and Article III judges) that they should engage in public
education out of civic obligation. See Supp. Tabaddor Decl. ¶¶ 7, 10.

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       First, the government argues that the Policy imposes a “minimal burden” on speech

because it applies to “only” 470 immigration judges and approximately 1,500 other employees.

Def.’s Br. at 16. The government ignores, however, that the Policy silences employees with a

unique perspective on a topic of immense public interest and that it impacts a “broad category of

expression.” NTEU, 513 U.S. at 467–68. Indeed, courts routinely apply NTEU to invalidate

restrictions on employees of small municipal or state departments. See Mansoor v. Trank, 319 F.3d

133 (4th Cir. 2003); Moonin, 868 F.3d 853.

       Second, the government observes that speakers who are not subject to the Policy—union

representatives and former immigration judges—can still discuss immigration. Def.’s Br. at 16–

17. If this argument had any merit at all, there would be no NTEU or Pickering claims, because an

agency could always point to former employees or outsiders who were able to speak on the same

general subjects. But these cases protect the free speech rights of public employees precisely

because of the unique and important insights those employees can provide to the public. See

Sanjour, 56 F.3d at 94. Nor does the speech of union representatives, who are able to discuss only

the union’s position on working conditions, substitute for the speech of hundreds of immigration

judges and employees who wish to speak, including on issues unrelated to working conditions. Cf.

Declaration of James R. McHenry III (“McHenry Decl.”) ¶ 37, ECF No. 27-1 (“[N]ot all

bargaining unit members agree with NAIJ’s positions on immigration matters[.]”).5

       Third, the government argues that most speaking engagement requests are approved and

that EOIR has agreed to aspirational time limits in the 2018 Memorandum of Understanding.

Def.’s Br. at 16. These arguments miss the point. As outlined above, in reviewing NAIJ’s challenge



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    If the Department of Justice’s effort to decertify NAIJ is successful, then even this limited
avenue for union speech will be extinguished. Tabaddor Decl. ¶ 7.

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under NTEU, this Court must “focus on the text of the policy” rather than its current application,

Moonin, 868 F.3d at 861, since it must weigh the interests of both present and future employees.

That EOIR has approved some speaking requests is no defense of its outright prohibition of an

entire category of protected expression. Moreover, its assertions tell only half the story, given that

many immigration judges have stopped submitting speaking requests and many conference

organizers have stopped extending invitations, recognizing that doing so initiates an onerous—

even futile—process. See Tabaddor Decl. ¶ 32; Declaration of Laura Lynch (“Lynch Decl.”) ¶¶ 9–

12, ECF No. 11. Notably, while the agency points to aspirational time limits, it does not claim to

meet them—indeed, the evidence shows otherwise, Tabaddor Decl. ¶¶ 17, 26, 29, 31.

               2.      The hypothetical harms identified by EOIR cannot overcome the
                       interests of immigration judges and the public in the speech
                       restrained by the Policy.

       To tip the scales in its favor, EOIR must show that its asserted interests outweigh the free-

speech interests of current and future immigration judges and their potential audiences. EOIR must

also demonstrate that the recited harms are “real, not merely conjectural” and that the Policy

“alleviate[s] those harms in a direct and material way.” NTEU, 513 U.S. at 475 (quoting Turner

Broad. Sys. v. FCC, 512 U.S. 622, 664 (1994)). The government has failed to carry this burden.

       The government asserts an interest in ensuring compliance with ethics and professionalism

laws, Def.’s Br. at 18–19, but fails to show why the Policy is necessary to protect that interest. The

government puts forward no evidence suggesting that absent the Policy, immigration judges would

flout these laws. See Swartzwelder, 297 F.3d at 239 (holding that police department’s interest in

protecting confidential information did not sustain a preapproval policy where department had not

produced any evidence that its preexisting code of conduct “was insufficient to deal with the

problem”); Crue, 370 F.3d at 680 (invalidating preapproval policy where university could pursue



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post-hoc disciplinary action if employee said something “actionable in and of itself”). The

government also fails to demonstrate why an intermediate step, such as allowing employees to

seek clarification of ethics rules, would not address the agency’s interest. See Declaration of Chris

Cox ¶ 3, ECF. No. 27-2 (describing other ways the Ethics Program can and does provide ethical

guidance to employees of EOIR). Nor does the government explain how the Policy’s review

process and standards are tailored to its interest. See 2020 Policy at 3 (describing four layers of

review, only one of which is carried out by EOIR’s ethics program); id. at 2–3 (permitting EOIR

to deny requests for a host of reasons unconnected to any ethical violations).

       The government argues that the Policy is necessary to ensure that speaking engagements

do not interfere with EOIR’s work, Def.’s Br. at 19–20, but for similar reasons, its argument fails.

EOIR already has a policy in place requiring that employees clear the use of annual leave with

their supervisors. See 2020 Policy at 2 n.3. The agency cites no evidence that this policy is

inadequate to protect its interest in consistent staffing. And the Policy is not framed to address this

problem. It applies to all speaking events, regardless of whether they will take place during the

workday, as well as to the publication of written material, regardless of when it is drafted. It also

permits EOIR to review the content of an immigration judge’s proposed speech, even though this

is unnecessary to determine whether a judge’s absence would require EOIR to “re-allocat[e] . . .

work to other personnel.” McHenry Decl. ¶ 42; cf. Swartzwelder, 297 F.3d at 238.

       Next, the government argues that the Policy is necessary to avoid public confusion and to

preserve confidence in EOIR, Def.’s Br. at 20, but here too the government fails to point to any

evidence that this is so. See Liverman v. City of Petersburg, 844 F.3d 400, 408 (4th Cir. 2016)

(invalidating police department speech policy where department “presented no evidence of any

material disruption” arising from officers’ speech). The government points to a narrow set of cases



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that allows public employers to discipline or terminate the employment of certain “agency heads

or high-ranking agency personnel” if the employee’s speech is reasonably likely to disrupt its

ability to effectively and efficiently manage its operations. See McVey v. Stacy, 157 F.3d 271, 279

(4th Cir. 1998). Those cases are inapt. Immigration judges are not the type of high-level

policymaking employees contemplated by cases like McVey, because they neither set policy nor

manage agency operations. Rather, they adjudicate cases based on well-established precedent, and

their decisions are subject to review by the Board of Immigration Appeals. See U.S. Dep’t of

Justice and National Association of Immigration Judges, 56 F.L.R.A. 616 (2000) (upholding a

regional director’s decision that immigration judges are not management officials because they do

not make policy); McHenry Decl. ¶¶ 18–19, 23; see also Moonin, 868 F.3d at 865–66 (finding

likelihood of any confusion diminished where policy applied to “rank-and-file [employees], not

the sort of high-level, policy-making employees whom the public would be likely to assume speak

for the [agency].”). Nor should this framework apply to administrative judges, whose obligations

of independence and impartiality make them categorically unlike the high-ranking officials whose

expected loyalty to their superiors has been the basis for restrictions on their public dissent.

       In any event, the Policy fails because it lacks a “close and rational” relationship with

EOIR’s asserted interest. Moonin, 868 F.3d at 867 (quoting Gibson v. Office of Att’y Gen., 561

F.3d 920, 928 (9th Cir. 2009)). For example, the Policy “makes no distinction between speech

about the [EOIR policies and programs] that reasonably could be expected to disrupt [the agency’s]

operations and speech that plainly would not, or that would only do so inasmuch as it engendered

legitimate public debate about the [agency].” Id. The Policy applies indiscriminately to all speech

by EOIR employees, including speech having nothing to do with EOIR operations. It also

authorizes EOIR to review speaking requests for consistency with agency policies and



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communications, see 2020 Policy at 3, not merely for the potential to “undermine public

confidence in the agency.” Def.’s Br. at 21; cf. Swartzwelder, 297 F.3d at 239.6

       Finally, the government argues that the Policy is justified by the agency’s interest in

promoting judicial integrity, see Def.’s Br. at 22–23, but the Policy is not tailored to this interest

either. As explained in NAIJ’s opening brief, see Pl.’s Br. at 17–19, courts have recognized a

narrow interest in judicial impartiality: the interest in protecting against the appearance of bias for

or against parties to any proceeding. Republican Party of Minn. v. White, 536 U.S. 765, 768 (2002).

But the Policy is not targeted to this interest. The Policy requires that employees seek preapproval

for all speaking engagements, not merely those that create a risk of the appearance of bias for or

against a party, and it imposes a categorical ban on employees speaking publicly in their personal

capacities about immigration and EOIR. Neither restriction is justified by the government’s

interests in maintaining judicial impartiality.7

       The government’s various asserted interests appear to be a pretext for suppressing public

criticism of the agency. In a declaration submitted by the government, EOIR now freely admits

that in deciding requests by employees to speak in their personal capacities, the agency considers

whether the employee’s participation would cause “any negative publicity or scrutiny to EOIR or

the Federal Government.” See Owen Decl. ¶ 17. In combination with the lack of any concrete



   6
      To the extent EOIR frames its interest as one in ensuring consistency within official
statements, this interest cannot justify the Policy’s sweeping restrictions on the personal-capacity
speech of immigration judges and other employees. EOIR seems to argue that it cannot trust
immigration judges to determine when they are speaking as private citizens and when they are
speaking as representatives of EOIR. This fear, however, is entirely speculative, and the agency
cites no evidence to support it.
   7
     Federal judges, for example, routinely opine on legal and other issues outside of their judicial
opinions. See id.; see also Code of Conduct for U.S. Judges § 4 (Judicial Conference 2019)
(encouraging judges to “speak, write, lecture, teach, and participate in other activities concerning
the law, the legal system, and the administration of justice”).

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examples of harm EOIR has suffered—or even harms the agency is reasonably likely to suffer—

its prior restraint cannot stand. As the Ninth Circuit has explained:

       Although it could be true that [public agencies] would operate more efficiently
       absent inquiry into their practices by the public and the legislature, efficiency
       grounded in the avoidance of accountability is not, in a democracy, a supervening
       value. Avoiding accountability by reason of persuasive speech to other
       governmental officials and the public is not an interest than can justify curtailing
       [employees’] speech as citizens on matters of public concern.

Moonin, 868 F.3d at 866. Because the government has failed to satisfy NTEU’s “exacting

scrutiny,” NAIJ is likely to succeed on the merits of its First Amendment claim.8

   III. NAIJ is likely to prevail on the merits of its Fifth Amendment claim.

       NAIJ is also likely to prevail on the merits of its claim that the Policy is void for vagueness.

Under that doctrine, a policy or regulation must provide sufficient clarity and guidance to ensure

that it is applied in a consistent, non-discriminatory manner. See Pl.’s Br. at 23. The Policy,

however, invites arbitrary and discriminatory enforcement.

       The Policy explicitly allows supervisors and the SET to make decisions based on EOIR’s

preferred message. See 2020 Policy at 3; Tabaddor Decl. ¶ 28 Ex. I at 4 (asking judges to confirm

whether their proposed speech “align[s] with EOIR messaging”); Declaration of Daniel Swanwick

¶ 18 Ex. B at 3, ECF No. 27-3 (stating that, if the topic is immigration, the SET considers whether

the requested event “align[s] with EOIR’s mission” and whether the speaker’s message will


   8
     NAIJ explained in its opening brief that it was also entitled to an additional “thumb on the
scale” because the Policy lacks key safeguards. Pl.’s Br. at 19–22. The government argues that this
fact is not relevant in the context of public employee speech restrictions, Def.’s Br. at 24, but it is
wrong. See Moonin, 868 F.3d at 867 (striking down a communications policy where standards
were not objective and accordingly “raise[d] the specter of arbitrary or viewpoint-discriminatory
enforcement”); Crue, 370 F.3d at 679 (striking down a policy that failed to “create a schedule for
the review of proposed communications”); Swartzwelder, 297 F.3d at 240 (striking down a policy
on expert testimony where the standard was “so open-ended that it create[d] a danger of improper
application”); Harman, 140 F.3d at 120–21 (striking down a communications policy that lacked
“narrow, objective, and definite standards” and a definite time limit for review).

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“advance EOIR’s mission”); Owen Decl. ¶ 17. The Policy thus enables and encourages viewpoint

discrimination in the speaking-engagement review process. Cf. Harman, 140 F.3d at 120; Sanjour,

56 F.3d at 97.

       EOIR’s assertion that the Policy meaningfully binds supervisory review is equally

unavailing. EOIR cannot rely on the Policy, because the Policy does not, on its face, limit a

supervisor’s discretion to deny a request in any way. See 2020 Policy at 3. EOIR points to the

declaration of a single supervisor explaining how she personally makes decisions when speaking

engagement requests are submitted to her. See Def’s Br. at 26. But that declaration only

underscores the fact that supervisors can conduct their review in any way they see fit, without

meaningful guidance. Because the Policy is impermissibly vague, NAIJ is likely to succeed on the

merits of its Fifth Amendment claim.

   IV. NAIJ has shown irreparable harm.

       NAIJ has shown irreparable harm in at least three ways. First, it has shown a likelihood of

success on the merits, see supra Parts II–III, and as the government itself acknowledges, “a

plaintiff’s claimed irreparable harm is ‘inseparably linked’ to the likelihood of success on the

merits” in a First Amendment case. Def.’s Br. at 27 (quoting W.V. Ass’n of Club Owners &

Fraternal Servs. Inc. v. Musgrave, 553 F.3d 292, 298 (4th Cir. 2009)). Second, NAIJ has shown

that the Policy is currently harming immigration judges because it categorically prohibits them

from speaking publicly in their personal capacities about immigration and suppresses their speech

through a new and onerous preapproval process. See Tabaddor Decl. ¶¶ 24–37. The government

denies these irreparable harms in conclusory fashion, Def.’s Br. at 28, but the harms are

substantiated at length in the record through affidavits showing, among other things: that

immigration judges are no longer permitted to voice their personal views on immigration law and



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policy, see Tabaddor Decl. ¶¶ 25, 27–31, that conference organizers are no longer inviting sitting

immigration judges to speak because of the futility of doing so, see Lynch Decl. ¶¶ 9–12, and that

the lack of clear deadlines or standards in the Policy invites arbitrary and protracted

decisionmaking, see Tabaddor Decl. ¶¶ 26, 29, 31.

        The government argues that any urgency for the relief NAIJ seeks is “belied” by the union’s

“substantial delay” in seeking a preliminary injunction. Def.’s Br. at 28. To the contrary: NAIJ

filed suit within months of the issuance of EOIR’s 2020 Policy.9 Even if it had delayed, NAIJ’s

“likelihood of succeed on the merits and the seriousness of any infringement upon First

Amendment rights” would be sufficient to establish irreparable harm. Chabad of S. Ohio &

Congregation Lubavitch v. City of Cincinnati, 363 F.3d 427, 436 (6th Cir. 2004); see also Ctr. for

Individual Freedom, Inc. v. Ireland, 613 F. Supp. 2d 777, 806–07 (S.D.W. Va. 2009); accord

Human Rights Def. Ctr. v. Sw. Va. Reg’l Jail Auth., No. 1:18CV00013, 2018 WL 3239299, at *6

(W.D. Va. July 3, 2018).10




   9
     The government argues that the 2020 Policy does not substantially revise the 2017 Policy,
Def. Br. at 29 n.15, but that is incorrect for the reasons NAIJ set out in its opening brief. Pl.’s Br.
at 6–7.
   10
      The cases relied on by the government are inapposite. Capital Associated involved a
challenge to an eighty-year-old law by a fifty-year-old organization. Capital Associated Indus.,
Inc. v. Cooper, 129 F. Supp. 3d 281, 288 (M.D.N.C. 2015). In Jones, the court found that the
plaintiffs would soon have another opportunity to submit their desired referendum proposition.
Jones v. Markiewicz-Qualkinbush, 842 F.3d 1053, 1060 (7th Cir. 2016). In Steakhouse, the court
found no irreparable harm because the plaintiff had contributed to the city’s delay in issuing the
sought-after permit. Steakhouse, Inc. v. City of Raleigh, 166 F.3d 634, 637–38 (4th Cir. 1999).
And in Edmonds, the court actually found a “substantial likelihood of irreparable harm to the
plaintiff.” Edmonds v. Gilmore, 988 F. Supp. 948, 956 (E.D. Va. 1997).

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    V. NAIJ has shown that the balance of equities and public interest support preliminary
       injunctive relief.

        As NAIJ’s opening brief explained, the balance of equities and the public interest are

deemed “established when there is a First Amendment violation.” Pl.’s Br. at 25 (quoting Centro

Tepeyac v. Montgomery Cty., 722 F.3d 184, 191 (4th Cir. 2013)). The government’s attempts to

rebut this presumption are unconvincing. The government argues that the public interest in hearing

from immigration judges is satisfied because union representatives and retired judges remain free

to contribute to public discourse. But, as described above, the speech of immigration judges and

other EOIR employees is not fungible. See Part II.B.1. Sitting immigration judges have unique

insights to share with the public, and the public has an interest in hearing them.

        The government argues that the balance of equities tips in its favor because enjoining the

Policy may impinge on allegedly significant agency interests, namely “preserving EOIR’s ability

to have sitting IJs speak on behalf of the agency in one voice and to preserve judicial integrity.”

Def.’s Br. at 30. But EOIR has no interest in enforcing unconstitutional policies, Giovani

Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002), and would be free to attempt to draft

a new policy that is “better tailored to serve” any legitimate interests it has in restricting the speech

of immigration judges made in a personal capacity, Swartzwelder, 297 F.3d at 242. On the other

hand, if a preliminary injunction is denied, immigration judges will continue to suffer the

irreparable loss of First Amendment rights. Thus, these factors favor the issuance of an injunction.

                                              Conclusion

        For the foregoing reasons, the Court should issue a preliminary injunction against EOIR’s

enforcement of the Policy.




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 July 27, 2020                         Respectfully submitted,

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